          Case 1:19-cv-09572-JSR Document 15 Filed 12/05/19 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐ X

ROBERT J. FELLMAN,                     :
                                       :
                                                      CASE NO.: 19-cv-09572-JSR
                Plaintiff,             :
                                       :
      -against-                        :
                                       :
UNITED COMMUNITY FINANCIAL CORP, :
GARY M. SMALL, RICHARD J.              :
SCHIRALDI, LOUIS M. ALTMAN, MARTIN :
E. ADAMS, PATRICK W. BEVACK, LEE J. :
BURDMAN, SCOTT N. CREWSON, SCOTT :
D. HUNTER, and ELLEN J. TRESSEL,       :
                                       :
                Defendants.
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                                   NOTICE OF DISMISSAL

       Notice is hereby given that pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure, Plaintiff voluntarily dismisses the above-titled action as moot. This notice of dismissal

is being filed with the Court before service by Defendants of either an answer or a motion for

summary judgment.

Dated: December 5, 2019                            Respectfully Submitted,

                                                   MONTEVERDE & ASSOCIATES PC

                                                   /s/ Juan E. Monteverde____________
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